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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                           )
PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                          )         Civil Action No. 18-cv-1547
                                           )
                                           )
                           Plaintiff,      )
                                           )
        v.                                 )
                                           )
MICHAEL K. YOUNG, in his official capacity )
as President of Texas A&M University,      )
                                           )
                           Defendant.      )
                                           )
                                           )

                 PLAINTIFF’S MOTION FOR SUMMARY JUDGEMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, plaintiff in the above-

captioned action, People for the Ethical Treatment of Animals, Inc. (“PETA”), respectfully moves

the Court to enter summary judgment in its favor and against defendant Michael K. Young, in his

official capacity as president of Texas A&M University (“TAMU”), and to grant the relief

requested in the Amended Complaint (ECF Dkt. 17):

               Declare that TAMU’s restrictions of PETA’s speech on TAMU’s Facebook Page

are unconstitutional;

               Enter an injunction requiring TAMU to allow PETA to re-post its content in the

forum and prohibiting TAMU from future use of automated filtering technology to limit PETA’s

speech from the forum; and

       3.      Award PETA its costs, including reasonable attorney’s fees, pursuant to 42 U.S.C.

§ 1988(b).

       In support, Plaintiff files herewith



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            Plaintiff’s Memorandum Supporting Their Motion for Summary Judgment

            Plaintiff’s Appendix of Undisputed Material Facts

            Attorney Declaration from Gabriel Walters, with exhibits, and

            Plaintiff’s Proposed Order.

     Plaintiffs respectfully request oral argument on this motion.

DATED: March 27, 2019                        Respectfully submitted:

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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


                                           )
PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                          )     Civil Action No. 18-cv-1547
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                           Plaintiff,      )
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        v.                                 )
                                           )
MICHAEL K. YOUNG, in his official capacity )
as President of Texas A&M University,      )
                                           )
                           Defendant.      )
                                           )
                                           )

                       PLAINTIFF’S MEMORANDUM
           IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT


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                                        INTRODUCTION

       Defendant Texas A&M University (TAMU) is unconstitutionally blocking a critic from

participating in a forum for community engagement created and maintained by TAMU. TAMU

ensures that mention of the critic and its criticism does not appear in the forum, creating the false

impression that TAMU’s actions are beyond public reproach. This is classic viewpoint

discrimination, rarely, if ever, permissible under the First Amendment.

       That this forum exists because TAMU has created a Facebook page and allowed the public

to post comments to the page does not change this hornbook result. Like government bodies around

the nation, TAMU uses its Facebook page not only to provide information to the public, but also

to create a forum for people to express themselves, to TAMU and to each other, on myriad subjects

related to the University, including University controversies.

       Plaintiff People for the Ethical Treatment of Animals (PETA) is the critic that TAMU has

blocked. It seeks to use these interactive public parts of TAMU’s Facebook page to express its

views on a TAMU issue of significant public concern: whether TAMU’s dog lab is cruel and

should be closed.

       TAMU uses two methods to censor PETA’s viewpoint. First, TAMU automatically blocks

third-party content from its Facebook page that contains banned words like “PETA” and “lab.”

Second, if this digital filter misses any unwanted views, TAMU manually deletes them.

       In doing so, TAMU violates the First Amendment in five distinct ways. First, TAMU has

censored PETA’s speech because TAMU disagrees with PETA’s viewpoint, which is forbidden in

every kind of forum. Second, TAMU has created an unlawful prior restraint. Third, TAMU has

designated its Facebook page as a public forum, but TAMU’s exclusion of PETA’s message is not

content neutral and does not survive the scrutiny required in a designated forum. Fourth, even if

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TAMU’s Facebook page is a limited public forum or a nonpublic forum, PETA’s speech falls

within any limits, and TAMU’s exclusion of PETA is not reasonable. Fifth, TAMU’s censorship

regime violates PETA’s right to petition the government for a redress of grievances.


                                     STATEMENT OF FACTS

I.        Social Media Is the 21st Century’s Town Square, a Tool for Free Expression Among
          Many People, and Governments Use It for That Purpose.

          Social media has changed the way that people all over the world connect and communicate.

“While in the past there may have been difficulty in identifying the most important places (in a

spatial sense) for the exchange of views, today the answer is clear. It is cyberspace—the ‘vast

democratic forums of the Internet’ in general, Reno v. American Civil Liberties Union, 521 U.S.

844, 868 (1997), and social media in particular.” Packingham v. North Carolina, 137 S. Ct. 1730,

1735 (2017). Facebook was designed for the very purpose of facilitating communication and

human interaction online. See https://www.facebook.com/pg/facebook/about/.

          Governments use social media for this very purpose: to engage in two-way communication

with the public, and facilitate communications among members of the public. See United Nations

E-Government Survey 2016: E-Government in Support of Sustainable Development, U.N. Sales

No. E.16.II.H.2, at 65-68.1 They don’t just use social media to disseminate their own information

to the public. Rather, they also create “interactive spaces” where members of the public can talk

back to the government and communicate with each other. See Davison v. Randall, 912 F.3d 666,

686-88 (4th Cir. 2019) (addressing the “interactive component” of a public official’s Facebook

page, the comments section); Knight First Amendment Inst. at Columbia University v. Trump, 302




1
    Available at http://workspace.unpan.org/sites/Internet/Documents/UNPAN97453.pdf.
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F. Supp. 3d 541, 572 (S.D.N.Y. 2018) (addressing the reply section of the president’s Twitter

feed), appeal pending, No. 18-01691 (2nd Cir.).

II.      TAMU’s Facebook Page Contains Interactive Spaces for Free Expression.

         TAMU’s Facebook page includes at least three distinct elements. Two are interactive, that

is, they allow for a back-and-forth discussion among numerous speakers.

         First, TAMU regularly posts information about educational opportunities, research

programs, and athletics, as well as profiles about students and other members of the TAMU

community on its Facebook Page. See Answer (ECF Dkt. 35) ¶ 19.2 This is the only content

displayed if the page is viewed in the “Home” setting. Id. at ¶ 20.

         Second, the University’s social media policy and Facebook settings permit anyone,

including current students, prospective students, alumni, and non-affiliated persons still interested

in the University, to post text and other media in the “Visitor Posts” section of TAMU’s page. See

Answer (ECF Dkt. 35) ¶ 28. Visitors can publish such posts in two distinct ways: (1) by posting

directly on TAMU’s page, or (2) by posting in their own timeline and tagging TAMU (that is, by

including “@TAMU” in the text) in the post.3 Id. at ¶ 17. TAMU could disable all visitor posts,

but has not done so. See id. at ¶¶ 17, 39. See also Walters Decl. Exh. 14 (TAMU’s Facebook Page

“Settings”). Visitors will see each other’s posts if they view the page in the “Posts” setting. See

Answer (ECF Dkt. 35) ¶ 20.

         Third, guests can add content to the Facebook page by commenting on both TAMU’s own

posts and the guest posts. See Answer (ECF Dkt. 35) ¶¶ 17, 24. Comments are an easy way for

visitors to offer opinions on TAMU’s posts, ask questions about TAMU’s policies, and respond to



2
  The Answer corresponds to the same paragraphs in the First Amended Complaint (ECF Dkt. 17).
3
  For example, Senator Ted Cruz tagged TAMU in a post about foreign relations and education policy, and
it appeared in the Posts feed. See Answer (ECF Dkt. 35) at ¶ 30.
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information and opinions in visitor posts. Id. Comments allow multiple Facebook users to express

their views to other users on a single post. See Davison, 912 F.3d at 686 (explaining the comments

function on a government Facebook page). Newer comments respond to older comments, as well

as the original post. The comments appear directly below a post, with a few of the most popular

comments usually appearing in a compressed preview and visitors having the ability to click to see

more comments or change the order of the comments they see. See Walters Decl. Exh. 10

(Facebook Help Center, Banning and Moderation) at p. 1. TAMU can turn off all comments, but

has not done so. See Answer (ECF Dkt. 35) ¶ 24. See also Walters Decl. Exh. 10 (Facebook Help

Center, Banning and Moderation) at p. 2. TAMU could place geographic restrictions on comments,

but has not. See Answer (ECF Dkt. 35) ¶ 39. See also Walters Decl. Exh. 14 (TAMU’s Facebook

Page “Settings”).

       Comments are a popular element on TAMU’s Facebook page. See Answer (ECF Dkt. 35)

¶ 24. Some posts have hundreds of comments. Id. Visitor comments on TAMU’s posts, and Visitor

Posts, sometimes include discussion of TAMU policies and decisions. Id.

       This case concerns the second element (visitor posts) and third element (visitor comments)

of TAMU’s Facebook page. They are the “interactive components,” Davison, 912 F.3d at 686, and

“interactive spaces,” Knight First Amendment Inst., 302 F. Supp. 3d at 572, that other courts have

found to be public forums.

III.   TAMU Censored PETA from the Interactive Spaces of Its Facebook Page.

       In 2016, PETA began an advocacy campaign against TAMU’s dog lab, in which

researchers use live canines to study a canine form of Duchenne Muscular Dystrophy (“DMD”).

This campaign has included letters to governmental officials and funding agencies, protests of

Board of Regents’ meetings, and a video by political commentator Bill Maher. See Answer (ECF

Dkt. 35) ¶ 33.
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       TAMU censored PETA’s own speech and speech about PETA itself and the dog labs in

two ways.

       First, Visitor Posts and Comments containing words or phrases TAMU selected are

automatically blocked from the University’s Facebook page. See id. at ¶¶ 38-39. See also Walters

Decl. Exh. 14 (TAMU’s Facebook Page “Settings”). Facebook gives Page administrators the

ability to create a customized list of “blocked” words, which prevents the publication on that Page

of posts and comments containing any of these words. See Answer (ECF Dkt. 35) ¶ 18. See also

Walters Decl. Exh. 10 (Facebook Help Center, Banning and Moderation) at p. 1.

       TAMU concedes that these block-triggering words include “PETA” and “lab.” See Answer

(ECF Dkt. 35) ¶ 1. A log of TAMU’s Facebook Page settings shows that TAMU also chose to

block other words associated with PETA’s viewpoint including “abuse,” “abusers,” and “md” (the

common abbreviation for “muscular dystrophy”). Id. at ¶ 39. See also Walters Decl. Exh. 14

(TAMU’s Facebook Page “Settings”).4 No viewpoint other than PETA’s was so targeted during

this time period. Nearly all of the other words that TAMU automatically blocks are profanity or

words commonly associated with automated spam. Id.

       Second, TAMU has manually deleted PETA-generated posts from its Facebook page. See

Answer (ECF Dkt. 35) ¶ 43. Content PETA has attempted to post to the TAMU Facebook Page

has been removed, as well as content mentioning PETA and PETA’s anti-dog lab campaign.


                                         ARGUMENT

       TAMU bears the burden of proving that its censorship regime passes First Amendment

muster. Gordon v. Houston, 79 F. Supp. 3d 676, 688 (S.D. Tex. 2015) (citing McCutcheon v. FEC,



4
  PETA obtained this particular settings log from TAMU by means of a request under the Texas Public
Information Act. See Answer (ECF Dkt. 35), at ¶¶ 38, 40.
                                                5
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134 S. Ct. 1434, 1452 (2014)). Speech on public issues—like PETA’s criticism of TAMU’s

experimentation on dogs—“is central to the First Amendment and enjoys special protection under

the Constitution.” Lowrey v. Texas A&M Univ. System, 11 F. Supp. 2d 895, 918 (S.D. Tex. 1988).

I.      TAMU Discriminates Against PETA’s Viewpoint, Which Is Unconstitutional Even in
        Nonpublic Forums.

        A. The First Amendment Forbids Viewpoint Discrimination in All Types of
        Government Forums.

        Because TAMU has censored PETA’s speech because of the viewpoints it expresses, this

court need not decide precisely what kind of forum TAMU has created within its Facebook page.

“It is well settled that viewpoint discrimination is a clearly established violation of the First

Amendment in any forum.” Chiu v. Plano Indep. Sch. Dist., 260 F.3d 330, 350 (5th Cir. 2001).

Thus, in Davison, the Fourth Circuit declined to decide whether the comments section of a

government official’s Facebook Page was a traditional, designated, or limited public forum,

because viewpoint discrimination was prohibited in each of them. 912 F.3d at 687. Indeed,

viewpoint discrimination is also forbidden in nonpublic forums. Arkansas Educ. Television

Comm’n v. Forbes, 523 U.S. 666, 682 (1998).

        Viewpoint discrimination is “an egregious form” of content discrimination, in which

government targets not just a subject matter, but “particular views taken by speakers on a subject.”

Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 829 (1995), quoted in Chiu,

260 F.3d at 350. See, e.g., Knight First Amendment Inst., 302 F. Supp. 3d at 575; Putnam Pit, Inc.

v. City of Cookeville, 221 F.3d 834 (6th Cir. 2000) (reversing summary judgment for a city that

allegedly exercised viewpoint discrimination in deciding which groups could post links on the

city’s website).

        Viewpoint discrimination need not be motivated by any nefarious intent, other than the

intent to silence. Thus in Davison, the official removed a comment alleging corruption on the

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school board from her Facebook page because she was concerned it was slanderous and “didn’t

want [the allegations] on the site.” 912 F.3d at 687 (internal quotations omitted). The Fourth Circuit

found that this “amply supports” a finding of viewpoint discrimination. Id.5

         Viewpoint discrimination exists and is unconstitutional when a government eliminates any

amount of speech on the basis of viewpoint, even if it also occasionally allows that viewpoint to

appear. It is enough that the disfavored speaker is burdened more than other speakers who espouse

favored viewpoints and face no censorship at all. See Ridley v. Massachusetts Bay Transp. Auth.,

390 F.3d 65, 88 (1st Cir. 2004).

         B.   TAMU Censors PETA’s Viewpoint from Its Facebook Page.

         As set forth above, TAMU censors PETA’s views in two ways—automatically and

manually. See Answer (ECF Dkt. 35) ¶¶ 1, 43-46. This censorship is in response to and specifically

designed to suppress PETA’s criticism of the dog lab. It is thus unconstitutional.

II.      TAMU’s Automatic Content Censorship Is an Unconstitutional Prior Restraint.

         TAMU’s key word blocking of any comment including “PETA” or “lab” (or other blocked

words) is a prior restraint, that is, an “administrative . . . order[ ] forbidding certain communications

when issued in advance of the time that such communications are to occur.” Catholic Leadership

Coalition of Tex. v. Reisman, 764 F.3d 409, 437 (5th Cir. 2014) (citing Alexander v. United States,

509 U.S. 544, 550 (1993) (internal quotation marks omitted). Rather than wait until the comments

have been posted and respond to any harm those comments may actually cause, TAMU forbids

their publication from the start.



5
  See also, e.g., Good News Club v. Milford Central Sch., 533 U.S. 98 (2001) (striking down a policy of
excluding religious viewpoints from a government forum); R.A.V. v. City of St. Paul,
505 U.S. 377 (1992) (striking down a ban on “fighting words” that provoke violence on the basis of race
and the like, but not fighting words that provoke violence on any other basis); Gay Student Services v. Texas
A&M Univ., 737 F.2d 1317, 1333 (5th Cir. 1984) (rejecting TAMU’s refusal to recognize a pro-gay student
group, though TAMU had recognized student groups with other views about gay rights).
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       Any system of prior restraint bears a heavy presumption of unconstitutionality, FW/PBS,

Inc. v. City of Dallas, 493 U.S. 215, 225 (1990), and “carries a heavy burden of showing

justification.” Org. for a Better Austin v. Keefe, 402 U.S. 415, 419 (1971).

       Prior restraints require “narrowly drawn, reasonable and definite standards” to guide the

censor in order to avoid “unbridled discretion” that might permit the official to “encourag[e] some

views and discourag[e] others through the arbitrary application” of the regulation. Forsyth Cty.,

Ga. v. Nationalist Movement, 505 U.S. 123, 133 (1992) (citing Niemotko v. Maryland, 340 U.S.

268, 271 (1951) (internal quotation marks omitted)). A prior restraint will be unconstitutional if it

results from the exercise of excessive discretion. Catholic Leadership Coalition, 764 F.3d at 437

(citing Lakewood v. Plain Dealer Publ'g Co., 486 U.S. 750, 757 (1988)).

       Prior restraints must be necessary to further a governmental interest of the highest

magnitude. See Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 562-63 (1976) (finding that a

criminal defendant’s right to a fair trial was a sufficiently important governmental interest). The

prior restraint will be necessary only if:

       (1)     the harm to the governmental interest is highly likely to occur, see id. at 563, 565,

               567 (approving of the trial court’s finding of a clear and present danger of

               impairment of the defendant’s fair trial rights, but cautioning against uncertainty);

               see also New York Times Co. v United States, 403 U.S. 713, 730 (1971) (per curiam;

               Stewart, J. concurring) (requiring absence of prior restraint to “surely result” in

               feared harm);

       (2)     the harm will be irreparable, New York Times, 403 U.S. at 730;

       (3)     no alternative exists for preventing the harm, see Nebraska Press, 427 U.S. at 563-

               65; and,



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       (4)     the prior restraint will actually prevent the harm. See id. at 565-66 (“We must also

               assess the probable efficacy of prior restraint on publication . . . .”).

       Moreover, prior restraints must contain certain procedural protections: (1) any restraint

before judicial review occurs can be imposed for only a specified brief period of time during which

the status quo is maintained; (2) prompt judicial review of a decision must be available; and (3)

the censor must bear the burdens of going to court and providing the basis to suppress the speech.

N.W. Enters. v. City of Houston, 352 F.3d 162, 193–94 (5th Cir. 2003) (citing Freedman v.

Maryland, 380 U.S. 51, 58–59 (1965)).

       TAMU has not complied with any these substantive or procedural protections. Indeed, it

did not even inform PETA that it had blocked words associated with PETA’s campaign, explain

its reasoning for doing so, prove that the keyword blocking was pursuant to narrowly drawn,

definite and definite standards, attempt to justify it as being necessary to further a governmental

interest of the highest magnitude, or offer PETA any avenue for prompt judicial review.

III.   The Interactive Spaces of the TAMU Facebook Page Are Designated Public Forums,
       and TAMU Unlawfully Censors Content in These Forums.

       TAMU has created designated public forums by opening the interactive spaces of its

Facebook page for the general public to discuss events, policies, and issues related to the

University. TAMU has engaged in content-based and viewpoint-based censorship of PETA’s

messages in these forums. This censorship is unconstitutional.

       A.      The Relevant Forum Is Not TAMU’s Entire Facebook Page, But Particular
               Interactive Components of It.

       Forum analysis operates on a precise level, focusing on specific spaces within a larger

environment, and not on the environment as a whole: it is “not a simple ‘all-or-nothing’

proposition.” See Justice for All v. Faulkner, 410 F. 3d 760, 766 (5th Cir. 2005) (citing Arkansas

Educ’l Telev’n Comm., 523 U.S. at 677-81) (explaining that a given forum may be designated for

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one class of speaker or speech, and still “limited” with respect to others)). Thus, in one case, the

relevant forum was not an entire school graduation event, but just “the portions of the

commencement program allocated to the invocation and benediction.” Doe v. Santa Fe Indep. Sch.

Dist., 168 F.3d 806, 819 (5th Cir. 1999), aff'd, 530 U.S. 290 (2000). Likewise, in Chiu, the relevant

forum was a school’s Math Night event and internal mail delivery system, not its entire building.

260 F.3d at 354-55.6

        Consistent with this, the courts that have applied forum analysis to governmental social

media pages have focused on the “interactive spaces” and “interactive components” of the

government’s social media presence, distinguishing those from the government’s own speech on

those sites. See Davison, 912 F.3d at 686 (“But the interactive component of the Chair’s Facebook

Page—the portion of the middle column in which the public can post comments, reply to posts,

and ‘like’ comments and posts—is materially different. . . . [C]omments and posts by users cannot

be mistaken for Randall’s own speech because they identify the posting or replying personal

profile or Page); Knight First Amendment Inst., 302 F. Supp. 3d at 572 (identifying the relevant

forum as “the interactive space of each tweet, as distinguished from the content of the tweet”).




6
 As the Fifth Circuit explained in State of Texas v. Knights of Ku Klux Klan, 58 F.3d 1075, 1078 (5th Cir.
1995):

        In pinpointing the relevant forum, we must focus on the “access sought by the speaker.” Id. We
        employ a “tailored approach” in determining what constitutes the forum within the confines of
        government property. Id. In Cornelius, the government wished to exclude certain groups from
        participating in a charitable fundraising drive conducted in the federal workplace. The Supreme
        Court defined the forum as the fundraising campaign rather than the government buildings which
        housed federal workers. Id. In Perry Educ. Ass’n, the Court defined the forum as the internal mail
        system of a public school rather than the school property. 460 U.S. at 44 . . . . Similarly, we define
        the forum in this case as the [adopt-a-highway] Program rather than the public highways.


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       PETA does not seek to speak on TAMU’s Facebook page the way TAMU does, or in

TAMU’s own posts in particular. Rather, PETA only seeks to speak the way other members of the

public do, in the two interactive spaces: (1) visitor posts, and (2) visitor comments on TAMU posts

and visitor posts. These interactive spaces are designed to facilitate speech by many people, and

TAMU by policy and practice has intentionally facilitated and permitted such private speech.

       B.      Designated Public Forums Exist Where a Wide Variety of Speech Is
               Permitted, Though It Need Not Be Limitless.

       A designated public forum is “a place or channel of communication [not traditionally open

to assembly and debate] for use by the public at large for assembly and speech, for use by certain

speakers, or for the discussion of certain subjects.” Doe, 168 F.3d at 819 (quoting Cornelius v.

NAACP Legal Def. & Educ. Fund, 473 U.S. 788, 802 (1985)).

       Although designated public forums are sometimes characterized as allowing “general

access,” Doe, 168 F.3d at 819 (quoting Cornelius, 473 U.S. at 802), or being “open for

indiscriminate public use,” Fairchild v. Liberty Indep. Sch. Dist., 597 F.3d 747, 758 (5th Cir. 2010)

(quoting Lamb’s Chapel v. Ctr. Moriches Union Free Sch. Dist., 508 U.S. 384, 392 (1993)), a

designated public forum will generally have some speaker or subject-matter restrictions.

“Government property . . . does not automatically cease to be a designated public forum because

the government restricts some speech on the property. Otherwise, the restriction of speech on

government property would be self-justifying. The restriction would disprove any intent to create

a designated public forum, and the failure to create a public forum would justify the restriction of

speech.” Hays Cty. Guardian v. Supple, 969 F.2d 111, 117 (5th Cir. 1992).

       Most basically, a designated public forum is generally open, with a few exceptions for

closure, and a limited or nonpublic forum is generally closed, with a few exceptions for openness.

See Ark. Educ. Television Comm’n, 523 U.S. at 679–80. The Supreme Court’s public forum cases


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       illustrate the distinction between “general access,” . . . which indicates the property is a
       designated public forum, and “selective access,” . . . which indicates the property is a
       nonpublic forum. On one hand, the government creates a designated public forum when it
       makes its property generally available to a certain class of speakers . . . . On the other hand,
       the government does not create a designated public forum when it does no more than
       reserve eligibility for access to the forum to a particular class of speakers, whose members
       must then, as individuals, “obtain permission,” . . . to use it.

Id. at 679. The government may thus “designate a particular forum as appropriate for certain types

of speech or for speech on particular topics,” Chiu, 260 F.3d at 347, or “may designate a forum

only for particular speakers or for the discussion of particular topics.” Doe, 168 F.3d at 821.

       A forum, even one with some content or speaker restrictions, remains a designated public

forum as long as it is “heavily used by a wide variety of private organizations.” Lamb’s Chapel,

508 U.S. at 391. “Heavily used” does not require great numerosity of private speakers: in

Concerned Women for American Education & Legal Defense, Foundation, Inc. v. Lafayette

County, 883 F.2d 32, 34 (5th Cir. 1989), the Fifth Circuit found that the government “created a

public forum by allowing diverse groups to use its auditorium,” based on use by just seven

organizations and one individual.

       Thus, the Fifth Circuit, like other courts, has recognized designated public forums despite

the presence of restrictions on both speakers and subjects. In Justice For All, 410 F.3d at 769, for

example, the Fifth Circuit found the public spaces of the University of Texas’s Austin campus to

be designated public forums for students, even though the University imposed a “small number of

enumerated content-based restrictions.” The Fifth Circuit reached a similar result in Hays Cty.

Guardian, 969 F.2d at 117, even though the public university in that case prohibited speech that

was “obscene, vulgar, or libelous” or contained “impermissible solicitation.”




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        C.      The Visitor “Comments” and “Posts” Sections of TAMU’s Facebook Page Are
                Designated Public Forums.

        In determining whether the government has created a designated public forum, the Fifth

Circuit looks to “(1) the government’s intent with respect to the forum, and (2) the nature of the

forum and its compatibility with the speech at issue.” Justice for All, 410 F.3d at 765. The

government’s intent can be determined by both stated policy and the actual practice of the forum.

Doe, 168 F.3d at 819. A stated policy alone is not determinative: “self-serving statements regarding

the purpose of the meeting are not enough to prove ‘intent.’” Chiu, 260 F.3d at 349 n.13. Rather,

courts “push aside ‘self-serving statements regarding the purpose of the meeting’ for objective

evidence leavened by common sense.” Fairchild, 597 F.3d at 759. “[I]t is clear that the

government’s proffered intent does not govern [the public forum] inquiry, else it would be a limited

inquiry indeed. . . . We must, therefore, view skeptically [the agency's] own self-serving assertion

of its intent and examine closely the relationship between the objective nature of the venue and its

compatibility with expressive activity.” Doe, 168 F.3d at 820.7

        The undisputed summary judgment record shows that the interactive spaces of TAMU’s

Facebook Page are designated public forums. This record includes TAMU’s policies for its

Facebook Page, TAMU’s practice of using the interactive spaces of its Facebook Page as a public

forum, and the basic nature of Facebook.

                    1. TAMU’s Intent to Designate a Forum Is Shown by Its Social Media
                       Policy and Page Settings.




7
  Accord Ridley v. Massachusetts Bay Transp. Auth., 390 F.3c 65, 76 (1st Cir. 2004) (“a statement of intent
contradicted by consistent actual policy and practice would not be enough to support” government denial
that a forum exists); Hopper v. City of Pasco, 241 F.3d 1067, 1075 (9th Cir. 2001) (“[A]n abstract policy
statement purporting to restrict access to a forum is not enough. What matters is what the government
actually does—specifically, whether it consistently enforces the restrictions on use of the forum that it
adopted.”); Grace Bible Fellowship, Inc. v. Maine Sch. Admin. Dist. No. 5, 941 F.2d 45, 47 (1st Cir. 1991)
(“actual practice speaks louder than words”).
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       TAMU’s written policies for its Facebook Page demonstrate an intent to designate the

interactive spaces of its Facebook Page as a public forum.

       TAMU’s social media policy broadly permits speech, and its few restrictions are routine

in designated public forums. See Answer (ECF Dkt. 35) ¶ 25. See also Walter Decl. Exh. 13

(TAMU’s Social Media Policy). These rules simply provide that TAMU may remove content that

“violates the terms of service,” “contains personally identifying information or sensitive personal

information,” “contains offensive terms that target protected classes,” “is threatening, harassing or

discriminatory,” “incites or promotes violence or illegal activities,” “contains information that

reasonable could compromise public safety,” and advertising, political endorsements and

campaigning, and content that violates another’s intellectual property rights. Id. These speech

categories are typically prohibited in even traditional public forums. See, e.g., Hall v. Bd. of Sch.

Comm’rs of Mobile Co., 681 F.2d 965, 971 (5th Cir. 1982) (“In a public forum, the state may

restrict expression which is obscene, consists of fighting words, or which poses an imminent

danger of grave evil.”); White Buffalo Ventures, LLC v. University of Texas at Austin, 420 F.3d

366, 378 (5th Cir. 2005) (finding it unnecessary to decide public forum status because the

commercial speech at issue was constitutionally proscribable); Roberts v. Haragan, 346 F. Supp.

2d 853, 872 (N.D. Tex. 2004) (explaining that unprotected speech may be restricted even in a

public forum).

        Indeed, the Fifth Circuit has found university facilities to be designated public forums

despite similar lists of prohibited speech. See Justice for All, 410 F.3d at 768-69 (finding

designated forum status despite rules barring “obscenity, defamation, harassment, commercial

solicitation, and incitements to violate the law”); Hays Cty. Guardian, 969 F.2d at 117 (finding

designated forum status despite bans on speech that was “obscene, vulgar, or libelous” or that

contained “impermissible solicitation”). See also Smith v. Tarrant County College Dist., 694 F.
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Supp. 2d 610, 625 (N.D. Tex. 2010); Roberts, 346 F. Supp. 2d at 861-62; Pro-Life Cougars v.

University of Houston, 259 F. Supp. 2d 575, 582 (S.D. Tex. 2003) (all finding certain aspects of

university campuses to be designated public forums despite rules against some categories of speech

and/or speakers).

          TAMU has configured its Facebook Page to reflect this generally open policy. TAMU

chose the most open options Facebook makes available. It allows anyone to comment and post,

See Answer (ECF Dkt. 35). at ¶ 17, and forgoes potential geographic and age restrictions. Id. at ¶¶

39, 16.

                    2. TAMU’s Intent to Designate a Public Forum Is Shown By How, in
                       Practice, It Operates the Interactive Elements of the Facebook Page.

          On issues unrelated to its dog laboratory, TAMU allows a heterogeneous array of speakers

and viewpoints in the interactive elements of its Facebook Page. Answer (ECF Dkt. 35) ¶¶ 20-24,

27-30. The Page provides a space for the public to speak about University policy and engage in

national debates. It has become a place for “exchanges of dueling presentations on topics of public

concern.” Doe, 168 F.3d at 820.

          Regarding Visitors Posts, TAMU allows all manner of visitors to publish on all manner of

controversies. See Answer (ECF Dkt. 35) ¶ 28. For example, community members published a

post about the screening of a movie urging people to stop using plastic straws. Id. at ¶ 29. U.S.

Senator Ted Cruz published a post about the termination of a TAMU program in China, addressing

a foreign policy issue during an election year. Id. at ¶ 30.

          Regarding Visitor Comments, TAMU likewise allows diverse speech by diverse speakers.

See Answer (ECF Dkt. 35) ¶ 24. For example, in a TAMU post about the dog Reveille, comments

criticized TAMU for acquiring her from a breeder instead of a rescue shelter. Id. at ¶ 24. Likewise,




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in a TAMU post about university housing for autistic students, a comment urged opportunities for

peer-to-peer interactions with other students. Id. at ¶ 24.

       At an earlier stage in this case, TAMU admitted that it has had “little occasion to step in

and moderate comments or visitor posts on its official Facebook page.” See Defendant’s Motion

to Dismiss (ECF Dkt. 20) at 12.

       Forums far less open than TAMU’s have been held to be designated forums,

notwithstanding formal policies to the contrary. In Concerned Women for America, 883 F.2d at

34, the court found that a library designated its auditorium as a public forum through the practice

of “allowing diverse groups to use its auditorium,” despite its stated policy to only allow meetings

of outside groups with an educational purpose. The small number of forum users in Concerned

Women for America included Navy recruiters, a program on AIDS, a luncheon and lecture on

Alzheimer’s, and a piano recital. Id.

                   3. The Nature and Purpose of the Interactive Elements of TAMU’s
                      Facebook Page Show Their Designation as Forums for Speech.

       In addition to government intent, forum status turns on “the nature of the forum and its

compatibility with the speech at issue.” Justice for All, 410 F.3d at 765. This inquiry includes “the

character of the place, the pattern of usual activity, [and] the nature of its essential purpose[.]”

Estiverne v. Louisiana State Bar Assn., 863 F.2d 371, 377, 378 (5th Cir. 1989).

       As shown above, these considerations overwhelmingly support that TAMU has designated

the interactive spaces of its Facebook Page as public forums for free speech. TAMU is using the

interactive elements of its Facebook Page exactly as Facebook intended – Facebook is designed to

allow as many people as possible to communicate with as many other people as possible – and

exactly as people and organizations around the world use it. Few communications channels are

more compatible with the kind of speech at issue here.


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       Indeed, the only federal appellate court to consider the issue found the comments section

of a government Facebook Page to be a public forum because it bore “the hallmarks of a public

forum.” Davison, 912 F.3d at 682. The page was “‘compatib[le] with expressive activity.’” Id.

(quoting Cornelius, 473 U.S. at 802). The government official administering the Page

“‘intentionally open[ed the public comment section of the Chair’s Facebook Page] for public

discourse,’ inviting ‘ANY Loudoun citizen’ to make posts to the comments section of the Chair’s

Facebook Page—the interactive component of the page—‘on ANY issues, request, criticism,

complement or just your thoughts.’” Id. (bracketed text in original; citations omitted; quoting

Cornelius, 473 U.S. at 802). Moreover, the administrator “placed no restrictions on the public’s

access to the page or use of the interactive component of the Chair’s Facebook Page. And, in

accordance with [the administrator’s] invitation, the public made numerous posts on matters of

public concern.” Id.

       D.      TAMU’s Automatic and Manual Content Censorship Fails First Amendment
               Scrutiny.

       As set forth above, PETA has proved viewpoint discrimination, which is barred regardless

of the nature of the forum. But even if this Court were only to find content discrimination, TAMU

fails the strict scrutiny that applies to such restrictions in a designated public forum.

       “[R]egulation of speech is content based if a law applies to particular speech because of

the topic discussed or the idea or message expressed.” Reed v. Town of Gilbert, 135 S. Ct. 2218,

2227 (2015). See Consolidated Edison Co. of N.Y. v. Public Serv. Comm’n of N.Y., 447 U.S. 530,

537 (1980) (“The First Amendment’s hostility to content-based regulation extends not only to

restrictions on particular viewpoints, but also to prohibition of public discussion of an entire

topic.”). “Some facial distinctions based on a message are obvious, defining regulated speech by

particular subject matter, and others are more subtle, defining regulated speech by its function or


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purpose. Both are distinctions drawn based on the message a speaker conveys, and, therefore, are

subject to strict scrutiny.” Reed, 135 S. Ct. at 2227. “Laws singling out a small number of speakers

for onerous treatment are inherently suspect.” Time Warner Cable, Inc. v. Hudson, 667 F.3d 630,

638 (5th Cir. 2012).

       Content discrimination cannot seriously be disputed here. TAMU admits that it

automatically blocked the words “PETA” and “lab” from the interactive spaces of TAMU’s

Facebook Page. See Answer (ECF Dkt. 35) ¶ 1. The record shows that TAMU automatically

blocked many more words associated with PETA’s campaign against the dog lab, including

“cruelty” and “abuse.” Id. at 39. This censorship silences not only PETA, but any speech that

names PETA, as well as other individuals who simply wish to discuss TAMU’s lab with other

Facebook visitors. No other group is singled out for censorship in this way. See Answer (ECF Dkt.

35) ¶ 39.

       The manual removal of posts pertaining to PETA’s campaign against the dog lab is also

content discrimination. See Answer (ECF Dkt. 35) at ¶ 43.

       Content based restrictions on speech must satisfy strict scrutiny: thus, TAMU must prove

its censorship of the Visitor Posts and Visitor Comments is “narrowly tailored to promote a

compelling Government interest,” and that no “less restrictive alternative would serve the

Government’s purpose.” United States v. Playboy Entm’t Grp., 529 U.S. 803, 813 (2000); Brown

v. Entm’t Merchants Ass’n, 564 U.S. 786, 799-800 (2011). Any “‘curtailment of [the First

Amendment] must be actually necessary to the solution.’” Mance v. Sessions, 896 F.3d 699, 705

(5th Cir. 2018) (quoting Brown, 564 U.S. at 799). Any restriction on speech must directly advance

the governmental interest, be neither overinclusive nor underinclusive, and be the least speech-

restrictive alternatives can be available to serve the government’s interest. Reno v. ACLU, 521 U.S.

at 874; Dep’t of Texas, Veterans of Foreign Wars of U.S. v. Texas Lottery Comm’n, 760 F.3d 427,
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439–40 (5th Cir. 2014) (quoting Republican Party of Minn. v. White, 416 F.3d 738, 751 (8th

Cir.2005) (en banc)).

       To prove a compelling interest, the government “‘must specifically identify an ‘actual

problem’ in need of solving.’” Mance, 896 F.3d at 705 (quoting Brown, 564 U.S. at 799). The

government must likewise offer “actual evidence, not just conjecture,” that the speech restriction

it imposed was the least restrictive means available to solve the actual problem. McAllen Grace

Brethren Church v. Salazar, 764 F.3d 465, 476 (5th Cir. 2014) (emphasis in original).

       Here, TAMU cannot satisfy strict scrutiny. It has failed to identify a compelling

governmental interest that supports its ban on speech mentioning PETA and the labs from the

interactive parts of its Facebook Page, let alone offer evidence to prove that there was an actual

problem in need of solving. Nor can it show that its censorship is the least speech-restrictive means

of accomplishing a governmental interest it may now conjure post-hoc.

IV.    Even If the Interactive Elements of TAMU’s Facebook Page Are Limited Public or
       Nonpublic Forums, PETA Still Prevails, Because Its Speech Falls Within Any
       Limitations, and TAMU’s Speech Restraints Are Not Reasonable.

               PETA is entitled to summary judgment even if this Court were to conclude that the

interactive elements of the TAMU Facebook Page are either limited public or nonpublic forums.

       A.    PETA and Its Speech Fall Within Any Limits TAMU Has Imposed.

       Even when the government limits a forum “for certain groups or the discussion of certain

topics,” it (1) may not discriminate on the basis of viewpoint, as discussed above, and (2) “must

respect the lawful boundaries it has itself set.” Rosenberger, 515 U.S. at 829. See also Cornelius,

473 U.S. at 806 (“Although a speaker may be excluded from a nonpublic forum if he wishes to

address a topic not encompassed within the purpose of the forum . . . or if he is not a member of

the class of speakers for whose especial benefit the forum was created . . . the government violates

the First Amendment when it denies access to a speaker solely to suppress the point of view he

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espouses on an otherwise includible subject.”). As the Fifth Circuit has explained, “speech for

which the forum is designated is afforded protection identical to the protection provided to

speakers in a traditional public forum.” Hays Cty. Guardian, 969 F.2d at 116.

       Those within the limitation must not be excluded, because doing so raises the specter of

viewpoint discrimination. As the Supreme Court held in Lamb’s Chapel, 508 U.S. at 396-97, a

school district unlawfully engaged in viewpoint discrimination when it excluded a church from

presenting films teaching family values (a subject otherwise permissible in the forum) from a

Christian perspective.

       Here, even if the interactive spaces of TAMU’s Facebook Page were a limited public

forum, PETA and its speech fall within any limits that TAMU has imposed on that forum. TAMU

has opened its Facebook Page to a wide array of speech about the university and its programs.

PETA’s speech falls well within this norm. Its speech, and the speech of its supporters mentioning

PETA and its criticism of the dog labs, is speech about the university and is thus consistent with

the purpose of the forum.

       B.    Even If the Interactive Elements of TAMU’s Facebook Page Are Nonpublic
             Forums, TAMU’s Censorship Is Not Reasonable.

       Even in a nonpublic forum, “the State must draw a reasonable line. . . . [T]he State must be

able to articulate some sensible basis for distinguishing what may come in from what must stay

out.” Minnesota Voters Alliance v. Mansky, 138 S. Ct. 1876, 1888 (2018). Thus, the Supreme

Court just this past term struck down a speech restriction in a nonpublic forum because of the

“unmoored use” of a subject matter limitation, “combined with haphazard interpretations” of that

limit, which resulted in “confusing line-drawing problems.” Id. at 1888-89. The Court explained:

       It is “self-evident” that an indeterminate prohibition carries with it “[t]he opportunity for
       abuse, especially where [it] has received a virtually open-ended interpretation.” [Bd. of
       Airport Comm’rs v. ]Jews for Jesus, 482 U.S. [569,] 576 [(1987]; see Heffron v.

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        International Soc. for Krishna Consciousness, Inc., 452 U.S. 640, 649 (1981) (warning of
        the “more covert forms of discrimination that may result when arbitrary discretion is vested
        in some governmental authority”).

Id. at 1891. The Court called for the State to “employ a more discernible approach” if it truly

wished to exclude certain speech from a nonpublic forum. Id.

        The prohibition against unbridled discretion in excluding speech from nonpublic forums

has long been a “matter of consensus among the courts of appeals.” Child Evangelism Fellowship

of S.C. v. Anderson Sch. Dist. Five, 470 F.3d 1062, 1068 (4th Cir. 2006).

        TAMU has failed to articulate any sensible, viewpoint-neutral basis for distinguishing

PETA’s speech from the private speech it permits in the Visitor Comments and Visitor Posts on

its Facebook Page. Thus, PETA has shown that TAMU violated the First Amendment, even if the

disputed forums are non-public.

V.      TAMU Violated PETA’s First Amendment Right To Petition Government for
        Redress of Grievances.

        By blocking PETA’s ability to post to the interactive spaces of TAMU’s Facebook page,

TAMU violates PETA’s First Amendment right “to petition the Government for a redress of

grievances.” U.S. Const. amend. I.

        The First Amendment’s separate rights to speak and to petition are not identical, and are

analyzed differently. Borough of Duryea v. Guarnieri, 564 U.S. 379, 388 (2011). For example:

“The right to petition allows citizens to express their ideas, hopes, and concerns to their

government and their elected representatives, whereas the right to speak fosters the public

exchange of ideas that is integral to deliberative democracy as well as to the whole realm of ideas

and human affairs.” Id. The right to petition applies even if the petitioning does not occur in a

public forum. Mirabella v. Villard, 853 F.3d 641, 655 (3d Cir. 2017) (petition via email). The right

to petition extends to “all departments of the Government,” California Motor Transp. Co. v.


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Trucking Unlimited, 404 U.S. 508, 510 (1972), including TAMU, a public university. The

Supreme Court recently recognized that social media is well-suited for exercising the right to

petition: “on Twitter, users can petition their elected representatives and otherwise engage with

them in a direct manner.” Packingham, 137 S. Ct at 1735.

       While directed at the government, petitions also rally public support, as “[p]etitions

contribute to the ‘public airing’ of disputes.” Mirabella, 853 F.3d at 654-55 (quoting BE&K

Constr. Co. v. NLRB, 536 U.S. 516, 532 (2002)). Indeed, the right of petition is especially salient

when, as here, the petition “seek[s] to advance political, social, or other ideas of interest to the

community as a whole.” Guarnieri, 564 U.S. at 395.

       Government violates the right to petition when, as here, it bars someone from

communication with that entity. Mirabella, 853 F.3d at 650-51. It also violates the right to petition

by excluding some viewpoints from a channel of petitioning. Id. at 655

       PETA seeks to post messages on TAMU’s Facebook Page calling on TAMU to close its

dog lab. This is the essence of First Amendment petitioning. PETA’s campaign aims to persuade

TAMU to close its dog lab, by means of a digital channel virtually custom-made for petitioning

government bodies. See Answer (ECF Dkt. 35) ¶ 33-34.

       By barring PETA from using its Facebook page to communicate to TAMU, an avenue of

communication available to all other speakers, TAMU has violated PETA’s right to petition.


                                         CONCLUSION

       TAMU has unconstitutionally censored speech by and about PETA by exercising

viewpoint discrimination, imposing a prior restraint, imposing content- and viewpoint-based

restrictions on speech in a designated public forum, and suppressing PETA’s right to petition the




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government for a redress of grievances. The material facts are not disputed. This court should issue

summary judgment in favor of PETA.

DATED: March 27, 2019                              Respectfully submitted,

                                                   /s/ David Greene
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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


                                           )
PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                          )           Civil Action No. 18-cv-1547
                                           )
                                           )
                           Plaintiff,      )
                                           )
        v.                                 )
                                           )
MICHAEL K. YOUNG, in his official capacity )
as President of Texas A&M University,      )
                                           )
                           Defendant.      )
                                           )
                                           )

                          DECLARATION OF GABRIEL WALTERS

1.      I, Gabriel Walters, am over the age of eighteen. The testimony given in this declaration is

from my personal knowledge. If called upon, I could testify competently to the contents of this

declaration.

2.      I am counsel to People for the Ethical Treatment of Animals, Inc. (“PETA”). I am counsel

of record in the captioned case.

3.      PETA obtained Texas A&M University’s (“TAMU”) Facebook Page “Settings” by filing

a request for records under the Texas Public Information Act (“TPIA”). A true and correct copy

of TAMU’s Facebook Page Settings is attached at Exhibit 14.

4.      TAMU has a social media policy, which is public and on the University website at

https://www.tamus.edu/marcomm/socialmedia/public/. A true and correct copy of this page is

attached as Exhibit 13.

5.      The Congressional Management Foundation, a nonpartisan nonprofit focused on research

and education for members of the United States Congress, surveyed members of Congress’ use of
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social    media    and      published      the     results       at   http://www.congressfoundation.org/

storage/documents/CMF_Pubs/cmf-social-congress-2015.pdf. A true and correct copy of this page

is attached as Exhibit 1.

6.       Facebook’s      2018      First      Quarter         Press     Release     is        available    at

https://investor.fb.com/investor-news/press-release-details/2018/Facebook-Reports-First-

Quarter-2018-Results/default.aspx. A true and correct copy of this page is attached as Exhibit 2.

7.       Facebook’s      2018      First      Quarter         Earning     Slides    is        available    at

https://s21.q4cdn.com/399680738/files/doc_financials/2018/Q1/Q1-2018-Earnings-Presentation-

(1).pdf. A true and correct copy of this page is attached as Exhibit 3.

8.       Facebook’s Help Center page titled “Your Profile and Settings” is available at

https://www.facebook.com/help/239070709801747/?helpref=hc_fnav. A true and correct copy of

this page is attached as Exhibit 4.

9.       Facebook’s      Help     Center         page       titled    “Friending”   is        available    at

https://www.facebook.com/help/1540345696275090?helpref=hc_global_nav. A true and correct

copy of this page is attached as Exhibit 5.

10.      Facebook’s   Help      Center     page    titled     “Your     Home   Page”     is    available   at

https://www.facebook.com/help/753701661398957/?helpref=hc_fnav. A true and correct copy of

this page is attached as Exhibit 6.

11.      Facebook’s Help Center Page titled “What is Town Hall?” is available at

https://www.facebook.com/help/278545442575921?helpref=faq_content. A true and correct copy

of this page is attached as Exhibit 7.




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12.      Facebook’s Help Center Page titled “Create and Manage a Page” is available at

https://www.facebook.com/help/135275340210354/?helpref=hc_fnav. A true and correct copy of

this page is attached as Exhibit 8.

13.      Facebook’s Help Center Page titled “Like and Interact with Pages” is available at

https://www.facebook.com/help/1771297453117418/?helpref=hc_fnav. A true and correct copy

of this page is attached as Exhibit 9.

14.      Facebook’s Help Center page titled “Banning and Moderation” is available at

https://www.facebook.com/help/248844142141117/. A true and correct copy of this page is

attached as Exhibit 10.

15.      Facebook’s       Help   Center    page       titled    “Publishing”   is   available     at

https://www.facebook.com/help/182487968815949/?helpref=hc_fnav. A true and correct copy of

this page is attached as Exhibit 11.

16.      Facebook’s       Help    Center    page       titled    “Insights”    is   available     at

https://www.facebook.com/help/794890670645072/?helpref=hc_fnav. A true and correct copy of

this page is attached as Exhibit 12.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Executed on March 27, 2017




_____________________
Gabriel Walters



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